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                                                                                                         United States District Court
                                                                                                           Southern District of Texas

                                                                                                              ENTERED
                                                                                                          September 02, 2016
                                IN THE UNITED STATES DISTRICT COURT
                                                                                                           David J. Bradley, Clerk
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

CICELY JAMES, et al.,         §
    Plaintiffs,               §
                              §
v.                            §                                                          CIVIL ACTION NO. H-15-2745
                              §
PRIME CONSULTING GROUP, INC., §
et al.,                       §
        Defendants.           §

                                                                           ORDER

            The Court has carefully reviewed the Confidential Settlement Agreements

[Doc. # 72] and Plaintiffs’ Unopposed Motion for Approval of Attorneys’ Fees [Doc.

# 74] with supporting information. Based on this review, the Court finds that the

parties’ settlement in fair and reasonable. Accordingly, it is hereby

            ORDERED that the Joint Motion to Approve Confidential Settlement and for

Dismissal With Prejudice Following Final Report [Doc. # 71] is GRANTED. It is

further

            ORDERED that Plaintiffs’ Unopposed Motion for Approval of Attorneys’ Fees

[Doc. # 74] is GRANTED. It is further

            ORDERED that within ten (10) days after the disbursement of payments

specified in the Confidential Settlement Agreement, counsel shall submit a proposed

final order of dismissal with prejudice.
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            SIGNED at Houston, Texas, this 2nd day of September, 2016.




                                                                                                  NAN Y F. ATLAS
                                                                                         SENIOR UNI   STATES DISTRICT JUDGE




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